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                                                                                            ABRAHAM J. ZAGER (1941-1999)
                                                                                           LAWRENCE M. FUCHS (1970-2020)
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                                                                                              **ADMITTED TO THE PENNSYLVANIA BAR
                                                                                                   QUALIFIED FAMILY LAW MEDIATOR
                                                                                                            REGISTERED GUARDIAN

                                                                                                               Ë LL.M. IN TAXATION

        March 19, 2025


        Hon. Cathy L. Waldor, U.S.M.J.
        Martin Luther King Jr. Courthouse
        50 Walnut Street
        Room 4040, Courtroom 4C
        Newark, New Jersey 07101


        RE:     Vision Industries Group, Inc. v. ACU Plasmold, Inc.
                Case No.: 2:18-cv-06296-ES-CLW

        Dear Judge Waldor,

                As Your Honor knows, we are local and trial counsel for the defendant in this matter.

        We write to respond to the submission by Mr. Lanterman. Mr. Lanterman’s letter is an

        effort to distract the reader from the main point – his perjury by claiming to have “completed

        post-graduate studies in computer forensics at Harvard.” His point seems to be that he is

        telling the truth on everything else. But you don’t get points for telling the truth most of the

        time. As a witness and an expert witness at that, one has a sworn duty to tell the truth period.

        No exceptions. The glaring nature of the one easily verifiable perjury (Lanterman admits it),

        is perhaps the most important qualifier for an expert witness – his or her education.

                His reference to “Mr. Harrington” is his effort to erect a straw man who he can

        discredit and use to distract from the main point - his dishonesty. We have attached the

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        recently filed “Declaration of David Watnick in Support of Defendants’ Motion to Strike

        Expert Declaration of Mark Lanterman and Exclude Lanterman’s Testimony.”1 Mr. Watnick

        details a history of lies, misrepresentations, and evasions by Mr. Lanterman. Many of the

        same issues: Upsala degrees, attendance at the University of Minnesota, hiding of his

        personnel records from his former police department employer, and lying on his resumé.

                In short, Mr. Lanterman’s letter is a master class in deception: Divert the reader’s from

        the main point (false claim to have completed graduate studies at Harvard) by burying the

        point in the middle of a dense letter; go into great detail in areas where you are strong (here,

        Mr. Lanterman evidently feels he should get points when he tells the truth); drop facts that

        make you sympathetic such as not having enough money to pay for college; assassinate

        the character of the individual who is against you (a specialty of Mr. Lanterman); feign

        offence at the accusations; create the illusion of openness by attaching a copy of the

        certificate from the online course; and respond to the “lowest hanging fruit” (note: Mr.

        Lanterman is not responding to Defendant’s March 12, 2025 letter – Doc No. 295 – in which

        the only specific point was Mr. Lanterman’s lying about having completing graduate studies at

        Harvard, and instead responds to allegations against him from a person who is an easy

        target). All this, with the goal of getting the reader to lose sight of the underlying absurd

        premise of the letter: That an expert witness gets one free pass to lie on a court affidavit, so

        long as it is limited a single lie (no matter how big that lie).


                1
                 Alliance Laundry Systems LLC v. Trudy Adams, etc., United States District Court,
        Northern District of Florida, Pensacola Division, Case No. 23-cv-22130. The defense stands
        ready to produce the exhibits attached to and referenced in Mr. Watnick’s Declaration.

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                Mr. Lanterman persists in his insistence that he is innocent. For the good of the courts

        it should be established exactly who Mr. Lanterman is – which of his claims are true and

        which are false. For that reason Defendant has suggested that Plaintiff’s counsel be tasked

        with finding out exactly what Mr. Landerman is lying about and to report to the court.

                Thank you for your consideration of this matter.

        Respectfully submitted,



        Michael T. Warshaw                                     Edward W. Miller
        Michael T. Warshaw                                     Edward W. Miller
        Local Counsel                                          Trial Counsel

        MTW:kp
        cc:  counsel of record via ECF




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